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                        UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF TEXAS
                                WACO DIVISON

LATINOS FOR TRUMP, BLACKS                §
FOR TRUMP, JOSHUA MACIAS,                §
M.S., B. G., J.B., J.J.,                 §
                                         §
       Plaintiffs.                       §
                                         §
                                         §
v.                                       §       CIVIL ACTION NO. 6:21-CV-43
                                         §
PETE SESSIONS, MITCH                     §
McCONNELL, NANCY PELOSI,                 §
MARK ZUCKERBERG, CHUCK                   §
SCHUMER, ALEXANDRIA                      §
OCASIO-CORTEZ, BRAD                      §
RAFFENSPERGER, ALL                       §
MEMBERS OF THE 117TH U.S.                §       JURY TRIAL REQUESTED
CONGRESS, et al.,

       Defendants.

     EMERGENCY MOTION FOR TEMPORARY RESTRAINING ORDER

COME NOW, Latinos for Trump, Blacks for Trump, Joshua Macias, M.S., B. G., J.B.,

J.J., (collectively, “Plaintiffs”), by and through their attorneys, Paul M. Davis, and

Kellye SoRelle, and file this their Emergency Motion for Temporary Restraining

Order (“Motion”) to this Honorable Court and, in support thereof, respectfully

represent as follows:




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    A. Plaintiffs’ Desperate Plea Calling on the Courage of This Court to
       Grant Their Emergency Motion

       1.      Plaintiffs are clearly not the first group of Black and Latino voters

deprived of their right to legally cast a vote in a federal election, but they are the first

such group to stand in the gap on behalf of all citizens and residents of the Republic,

regardless of race, color, religion, creed, sex, or national origin (collectively, including

Plaintiffs, the “People”). Plaintiffs’ urgent plea before this Honorable Court is to now

join with them, in this current Constitutional Crisis, when all other safeguards set

forth in the Constitution of the United States for checks and balances on unlimited,

tyrannical government power have been breached, to muster the same courage

displayed by the Founding Fathers1 of our Republic, who so willingly and boldly

sacrificed their blood, their tears, their fortunes, whether meager or vast, and even

their very lives, to win their freedom from a tyrannical monarchy across the ocean.

    B. The “Political Question Doctrine” Does Not Apply

       2.      This Complaint assumes that the courage of the Court does in fact match

that of Plaintiffs’ and their undersigned counsels’ act in filing this Complaint. By

filing this lawsuit exposing the shocking illegal acts of the Defendants in furtherance

of their conspiracy to crush the freedom and individual rights of the People by

replacing our republican form of government with an illegitimately-elected Congress

and President-Elect, Plaintiffs and Counsel have essentially signed their own death

warrants, or at least the chance at any meaningful career, at the hands of powerful


1Those brave patriots who laid down their lives for freedom from tyranny in the Revolutionary War
and/or those who signed the Declaration of Independence and/or those who framed the Constitution
of the United States.


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figures who acted, funded, directed, and/or otherwise conspired in furtherance of the

evil scheme to strip all power of self-government from the People .

           3.        One excuse that may be urged on the Court to sidestep this Complaint

is the “Political Question Doctrine.”2 The Supreme Court has long held that Congress

is the sole arbiter of whether the guarantee of a republican form of government in

Article IV, Section 4 has been violated on the basis that this issue is a “political

question” that can only be decided by Congress. Any notion that granting the Motion

or any relief requested in this lawsuit would violate the Political Question Doctrine

should be categorically dismissed. Denying Plaintiffs relief on the grounds that this

is a political question for Congress would be tantamount to entrusting a bank robber

with deciding his own verdict. Whereas Congress took their oaths of office to “support

and defend the Constitution” on January 3, 2021, after being illegally elected in gross

violation of their own duly-enacted election statute—specifically, the 2002 Help

America Vote Act, 42 U.S.C §§ 15301 et seq., as amended (“HAVA”)—no conflict of

interest could be more obvious.

       C. There Are No Issues of Standing, Laches, or Ripeness.

           4.        Many federal courts, including the Supreme Court, have avoided

reviewing evidence related to any of the 2020 post-election lawsuits by summarily

dismissing such lawsuits on grounds of standing, laches, or, in the case of the 2021

Georgian Senate Runoff, ripeness of claim. To undersigned counsels’ knowledge, not

a single federal court has held an evidentiary hearing regarding these lawsuits



2
    See, e.g., Baker v. Carr, 369 U.S. 186 (1962).


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        5.      Here, however, Plaintiffs clearly have civil rights injuries under the

various statutes pleaded in this suit since there is no more fundamental injury to the

rights of a U.S. Citizen than public officials acting under color of law to deprive

Plaintiffs of their sacrosanct right to cast a legal ballot in the election of their

representatives to the federal government without due process of law, once that right

has been extended.3 Plaintiffs have standing to sue federal officials where they act

alongside state or local officials,4 as is clearly the case where state and local officials

made unlawful changes to election procedures in violation of HAVA.

        6.       There is no issue of laches because none of the Plaintiffs were aware of

the extent to which the states had violated HAVA in the 2020 congressional elections

until they hired undersigned counsel to look into the various election laws. Even if

they had been aware, it is axiomatic that a criminal or tortious act is rarely

foreseeable, and it was certainly not foreseeable to Plaintiffs that the 117th Congress

would take their oaths and be seated in gross violation of federal election law.

Moreover, if Plaintiffs had filed prior to January 3, 2021, a court could have sought

to deny Plaintiffs’ claims on the grounds that Plaintiffs’ injury was not yet ripe

because the result of the election had not yet occurred. Now, however, there is no

doubt Plaintiffs’ causes of action are ripe since the harm to Plaintiffs came to fruition

on January 3, 2021, when the 117th Congress was seated in violation of HAVA.

    D. Grounds for Ex Parte Temporary Restraining Order and Preliminary
       Injunction.

3
  See generally, U.S. v. Tex., 252 F. Supp. 234, 250–51 (W.D. Tex.), aff'd sub nom. Tex. v. U.S., 384 U.S.
155, 86 S. Ct. 1383, 16 L. Ed. 2d 434 (1966) (in substantive due process voting rights case involving
Texas poll tax, describing the right to vote as “our most ‘precious’ right”).
4 E.g., Tongol v. Usery, 601 F.ed 1091 (9th Cir. 1979).




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     7.      Plaintiffs hereby incorporates all allegations and exhibits set forth in

their Original Complaint and Application for Injunctive Relief (Doc. No. 1) (the

“Complaint”). This Motion is supported by the Sworn Declaration of Joshua Macias

(“Macias”), attached hereto as Exhibit A (the “Macias Declaration”) and the expert

report of Steve Vanderbol III entitled “Global Risk Analysis: Special Report. United

States of America” attached hereto as Exhibit B along with Mr. Vanderpol’s CV

attached hereto as Exhibit C.

     8.      The facts alleged in the Complaint and the evidence attached in support

of the relief requested is voluminous because the Defendants’ violations of HAVA

were numerous. In support of this Motion, however, Plaintiffs will demonstrate one

simple case of injury to one of the Plaintiffs and the threat of immediate and

irreparable harm.

     9.      Mr. Macias voted in the 2020 Federal Election in North Carolina. See

Exhibit A. HAVA requires that, if a voter registers to vote by mail to vote for the first

time in a federal election, that voter must submit a form of identification with their

application and also must submit identification with the ballot upon voting. See 42

U.S.C. 21083. North Carolina voting law does not, however, require identification to

be submitted when the ballot is mailed in. See N.C.G.S.A. § 163-234. Therefore,

North Carolina mail-in ballots are patently illegal under HAVA. This clearly injures

Mr. Macias as a North Carolina voter in one of two ways. First, if Mr. Macias voted

by mail in the federal elections in North Carolina, then his ballot was illegal under

federal law and he would be deprived of his legal right to vote. On the other hand, if



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Mr. Macias voted in person in the North Carolina election, then his vote would be

diluted by the illegal mail-in ballots, which is an equal protection claim. Undersigned

counsel would clarify whether Mr. Macias voted in person, but the truth of the matter

is that its 1:54 AM and Mr. Macias is asleep while counsel has not slept in two nights

drafting this lawsuit. But this fact is immaterial because either way, Mr. Macias is

injured.

       10.     Plaintiffs are entitled to an Ex Parte Temporary Restraining Order

against Defendants on the following grounds:

       11.     Plaintiffs will certainly suffer immediate and irreparable harm

if the Court does not immediately enter the temporary injunctive relief requested

herein (the “TRO”).5       If the Defendants and the illegitimate Congress their actions

installed are able to continue govern the Republic, it will cease to be a republic. It

may become a true RINO “republic in name only” in the sense that the “People’s

Republic of China” contains the word “Republic,” although it is common public

knowledge that the China does not in any way belong to its people. It belongs to a

tyrannical, authoritarian, communist police state that engages in atrocities against

humanity, including the active persecution of proponents of free speech, democracy,

Christians, and anyone else who poses a view that does not demonstrate absolute and

unquestioning loyalty to the state and whatever ideologies it chooses to cram down

the throats of its citizens. The risk of the United State government descending into



5Fed. R. Civ. P. 65(b)(1); Fairchild Semiconductor Corp. v. Third Dimension (3D) Semiconductor,
Inc., 564 F. Supp. 2d 63, 66–68 (D. Me. 2008); Nw. Airlines, Inc. v. Bauer, 467 F. Supp. 2d 957, 963–
64 (D.N.D. 2006); see Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 22 (2008).


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such an oppressive police state is tangible and imminent if the government ceases to

be accountable to the People, as occurred in the illegal 2020 Federal Election. This

risk is evidence from even a cursory review of the history of government power grabs.

       12.     Furthermore, as set forth in the expert report of Steve Vanderbol

entitled “Global Risk Analysis: Special Report,” 6 the involvement of Mr. Vanderbol

has 27 years of experience operating multi-national, multi-spectrum corporations

with assets exceeding many billions of dollars, and is, accordingly, an expert on how

geopolitical events affect the financial markets.7 In Mr. Vanderbol’s expert opinion,

based on an extensive amount of research as demonstrated in his report, the

Constitutional Crisis created by the acts and omissions of Defendants set forth herein

compel the conclusion that, if the Court does not grant the TRO to prevent the

illegitimate Congress and President-Elect from taking control of the U.S.

Government, the economy of the United States will become unstable and cease to be

a “safe haven” for financial investors. If investors come to view their investments in

assets held in the United States as inherently unstable due to the Constitutional

Crisis, it is clear that would have a devastating effect on the Plaintiffs’ ability to plan

for retirement by investing in 401(k)s, IRAs, or other such accounts.

       13.     Thus, there is no adequate remedy at law8 because it would be

impossible to calculate an appropriate amount of monetary damages that would

compensate Plaintiffs for such harm. Indeed, no one could even guarantee that


6 Exhibit 3: Global Risk Analysis: Special Report, by Steve Vanderbol
7 Exhibit 4: CV of Steve Vanderbol.
8 Prudential Ins. Co. of Am. v. Inlay, 728 F. Supp. 2d 1022, 1030–31 (N.D. Iowa 2010); see Ruggieri v.

M.I.W. Corp., 826 F. Supp. 2d 334, 336 (D. Mass. 2011).


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Defendants would have sufficient financial assets available for legal damages if the

U.S. financial market begin to experience prolonged instability or even total collapse,

especially given that the U.S. Government is close to $30 trillion in debt and the

Federal Reserve Notes known as “Dollars” ceased to be back by gold over 100 years

ago. It is also obvious that the risk of permanent deprivation of the right to vote in

federal elections, which could be lost forever if the Defendants are not restrained from

further action and the Acts of Congress, taken after January 3, 2021 are not

restrained from having legal effect.

       14.         There is a substantial likelihood that Plaintiffs will prevail on

the merits of their claims.9            As described in the introductory section of this

Complaint, though this is a complex suit with regard to the factual allegations

regarding a widespread conspiracy to deprive the Plaintiffs of their rights, Plaintiffs’

right to relief is clear from the simple application of law to the following facts:

             (1)     Plaintiffs cast ballots in the 2020 Federal Election;

             (2)     The State of Texas and the other 50 states changed their 2020 Federal
                     Election procedures in violation of the minimum standards of HAVA;

             (3)     The 117th U.S. Congress was seated and took their oaths of office to
                     defend and protect the Constitution by virtue of an election that took
                     place in violation of HAVA;

             (4)     Plaintiffs suffered injuries with no adequate remedy at law through
                     deprivation of their substantive due process right to vote in the
                     Federal Election and have and/or will suffer irreparable financial
                     injury and further irreparable injury from loss of the republican form
                     of government guaranteed in the Constitution;




9Prudential Ins. Co., 728 F. Supp. 2d at 1029; Fairchild Semiconductor Corp., 564 F. Supp. 2d at 66–
67.


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     15.     The foregoing pattern occurred with each of the Plaintiffs in various

ways, depending on the individual procedure in the state and whether they voted in

person or by person. Plaintiffs offer the following clear example of harm that occurred

to them in the example of Plaintiff Joshua Macias.

     16.     Mr. Macias voted in the 2020 Federal Election in North Carolina. See

Exhibit A. HAVA requires that, if a voter registers to vote by mail to vote for the first

time in a federal election, that voter must submit a form of identification with their

application and also must submit identification with the ballot upon voting. See 42

U.S.C. 21083. North Carolina voting law does not, however, require identification to

be submitted when the ballot is mailed in. See N.C.G.S.A. § 163-234. Therefore,

North Carolina mail-in ballots are patently illegal under HAVA. This clearly injures

Mr. Macias as a North Carolina voter in one of two ways. First, if Mr. Macias voted

by mail in the federal elections in North Carolina, then his ballot was illegal under

federal law and he would be deprived of his legal right to vote. On the other hand, if

Mr. Macias voted in person in the North Carolina election, then his vote would be

diluted by the illegal mail-in ballots, which is an equal protection claim. Undersigned

counsel would clarify whether Mr. Macias voted in person, but the truth of the matter

is that its 1:54 AM and Mr. Macias is asleep (and counsel has not slept in two nights

drafting this lawsuit). But this fact is immaterial because either way, Mr. Macias is

injured and has demonstrated Plaintiffs’ substantial likelihood to prevail on the

merits.




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       17.     The threatened harm to Plaintiffs outweighs the harm that a

temporary restraining order would inflict on Defendants.10 It is self-evident

that the loss of the right to government by consent of the governed is far worse than

any harm Defendants may suffer if the Court grants the TRO;

       18.      Issuance of a temporary restraining order would not adversely

affect the public interest and public policy.11 It is self-evident that preventing

the loss of the right to government by consent of the governed is in the public interest.

       19.     The Court should enter this temporary restraining order

without notice to defendant because Plaintiffs will likely suffer immediate and

irreparable injury, loss, or damage if the order is not granted before Defendants can

be heard because (1) the vast list of Defendants in disparate geographical locations

makes service of process on short notice impracticable; (2) given that the allegations

and evidence revealed in this Complaint could result in federal criminal prosecutions

for various and severe high crimes and misdemeanors, including but not limited to

sedition, treason, racketeering, malfeasance by public officials, wire fraud, mail

fraud, etc., there is a high risk that Defendants will destroy evidence prior to being

given notice of the TRO.

       20.     Plaintiffs are willing to post a bond in the amount the Court deems

appropriate.




10 Prudential Ins. Co., 728 F. Supp. 2d at 1031–32; Fairchild Semiconductor Corp., 564 F. Supp. 2d
at 66; see Schiavo ex rel. Schindler v. Schiavo, 403 F.3d 1223, 1225–26 (11th Cir. 2005).
11 Prudential Ins. Co., 728 F. Supp. 2d at 1032; Midwest Retailer Associated, Ltd. v. City of Toledo,

563 F. Supp. 2d 796, 812 (N.D. Ohio 2008).


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         21.      Plaintiffs request a hearing on their Application for a Preliminary

Injunction.

         22.      To avoid such imminent and irreparable harm to the Plaintiffs and, by

extension, to the People, hereby request the Court enter a Temporary Restraining

Order with the following injunctive relief:

   (1)         Enjoin each illegitimate member of the 117th US Congress, named as a
               Defendant herein from taking any further legislative action;

   (2)     Enjoin the legal enforcement of any action taken by the illegitimate
           members of 117th US Congress since January 3, 2021, including but not
           limited to:

               a) its illegitimate actions taken under Title 3 of the United States Code in
                  counting the Electoral College votes and confirming Joe Biden as
                  President-Elect;

               b) its actions taken to impeach and convict the 45th President Donald John
                  Trump;

   (3)     Enjoin the Department of Justice, the Federal Bureau of Investigation, and
           any other federal agency from arresting and/or holding in custody Plaintiff’s
           undersigned lead counsel, Paul M. Davis and co-counsel, Kellye SoRelle, and
           any plaintiff or potential witness in relation to their exercise of their own
           exercise of civil rights by their attendance at the January 6, 2021 protest in
           Washington, D.C. absent a showing for good cause by clear and convincing
           evidence that said counsel committed some overt and intentional act of
           violence that directly resulting in substantial injury to the person of another,
           as such actions would amount to nothing more than an effort to intimidate
           and silence Plaintiffs and deprive them of the exercise of civil rights to bring
           this action under 42 U.S.C. §§ 1983, 1985, 1986 and their rights under the
           Constitution and which would amount to further civil rights violations by
           public officials acting under color of the law; and

   (4)     Order the only lawfully and constitutionally remaining federal public
           official, The Honorable Donald John Trump, 45th President of the United
           States of America to take all reasonable and necessary action consistent
           with the Take Care Clause of Article II, Section 1 and all the original intents
           and purposes of the Constitution of the United States to preserve the lawful
           and orderly continuity of government.



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                                                       IX.
                                                     PRAYER

WHEREFORE, Plaintiffs respectfully request that the Court immediately grant their

Emergency Motion and enter the attached Temporary Restraining Order Against

Defendants.


Submitted to the Honorable Court this 19th day of January, 2021.

                                                       /s/ Paul M. Davis
                                                       Paul M. Davis
                                                       Texas Bar Number 24078401
                                                       Admitted to Western Dist. TX
                                                       Former Associate General Counsel of
                                                       Goosehead Insurance, Inc.
                                                       (Terminated after peacefully protesting)
                                                       Now Solo Civil Rights Attorney

                                                       Kellye SoRelle
                                                       Texas Bar Number 24053486
                                                       Pro Hace Vice Application Forthcoming12

                                                       ATTORNEYS FOR PLAINTIFFS



               [No Certificate of Service as this Motion Requests Ex Parte Relief]




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     Contact info omitted for privacy and security purposes.


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